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1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    CARO MARKS, Bar #159267
     Senior Litigator
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    RYAN SCOTT KERN
7                       IN THE UNITED STATES DISTRICT COURT
8                     FOR THE EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,       )     No. Mag. No. 07-49 KJM
10                                   )
                    Plaintiff,       )     STIPULATION AND ORDER TO CONTINUE
11                                   )     PRELIMINARY HEARING
          v.                         )
12                                   )
     RYAN SCOTT KERN, et al          )     Date: June 18, 2008
13                                   )     Time: 2:00 p.m.
                    Defendant.       )     Judge: Kimberly J. Mueller
14                                   )
     _______________________________ )
15
          Ryan Scott Kern, by and through his counsel, Caro Marks, Assistant
16
     Federal Defender, Rahman Shadebadi, by and through his counsel, Peter
17
     Kmeto, and the United States Government, by and through its counsel,
18
     William Wong, Assistant United States Attorney, hereby stipulate and
19
     agree to vacate the previously scheduled preliminary hearing date of
20
     May 13, 2008 and set a preliminary hearing date of June 18, 2008 at
21
     2:00 p.m.
22
          A continuance is necessary because defense counsel Marks will
23
     begin a jury trial on May 12, 2008 and will be unavailable for the
24
     current preliminary hearing date. In addition, Mr. Kern is involved in
25
     a state court proceeding (as a government witness) which necessitates a
26
     continuance of the formal charge on the pending federal case.
27
          IT IS STIPULATED that the period from the signing of this Order,
28
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1    through and including June 18, 2008 be excluded in computing the time
2    within which trial must commence under the Speedy Trial Act, pursuant
3    to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, for ongoing
4    preparation of counsel.          It is further stipulated that the defendant’s
5    agrees to extend the time for their preliminary hearing pursuant to
6    Federal Rule of Criminal Procedure 5.1 (d).           The government fully
7    concurs with this request.
8    Dated:    May 8, 2008
9                                              Respectfully submitted,
10                                             DANIEL BRODERICK
                                               Federal Defender
11
                                               /s/ Caro Marks
12                                             ________________________
                                               CARO MARKS
13                                             Assistant Federal Defender
                                               Attorney for Defendant
14                                             RYAN SCOTT KERN
15                                               /s/ Peter Kmeto
                                               PETER KMETO
16                                             Attorney at Law
                                               Attorney for Defendant
17                                             RAHMAN SHADEBADI
18
                                               MCGREGOR SCOTT
19                                             United States Attorney
20                                             /s/ William Wong
21                                             WILLIAM WONG
                                               Assistant U.S. Attorney
22
23                                          ORDER
24   IT IS SO ORDERED.
25   Dated:05/14/08                            /s/ Gregory G. Hollows
26                                             U.S. Magistrate Judge
     kern.ord2
27
28


     Stipulation and Proposed Order           -2-
